               Case 08-14631-GMB      Doc 173     Filed 04/16/08 Entered 04/16/08 16:26:10          Desc Main
                                                 Document     Page 1 of 6



                     UNITED STATES BANKRUPTCY COURT
                     DISTRICT OF NEW JERSEY
                     Oren Klein (#8449)
                     PARKER McCAY P.A.
                     P.O. Box 974
                     Marlton, New Jersey 08053
                     (856) 596-8900
                     Attorneys for Pennsauken Township




                     In Re:                                            Chapter 11
                     SHAPES/ARCH HOLDINGS, LLC et al.
                                                                       Case No: 08-14631 (GMB)
                                                                       (Jointly Administered)
                                                        Debtor
                                                                       Judge: Gloria M. Burns

                                                                       Hearing Date: April 17, 2008 at 10:00 a.m.

                        OBJECTION OF PENNSAUKEN TOWNSHIP TO THE JOINT DISCLOSURE
                         STATEMENT FOR THE DEBTORS’ JOINT PLAN OF REORGANIZATION



                            Secured creditor, Pennsauken Township (“Township”), by and through its counsel,

                     Parker McCay P.A., hereby objects to the entry of an Order approving the Disclosure

                     Statement ( “Disclosure Statement”) filed by the Debtors and Debtors-In-Possession in

                     support of their Joint Chapter 11 Plan of Reorganization (the “Proposed Plan”) and in support

                     of its Objection, states the following:




LAW OFFICE
PARKER McCAY
               Case 08-14631-GMB      Doc 173      Filed 04/16/08 Entered 04/16/08 16:26:10            Desc Main
                                                  Document     Page 2 of 6




                                                           BACKGROUND

                            1.      On March 16, 2008 (“the Petition Date”), Shapes/Arch Holdings, L.L.C. and

                     certain of its subsidiaries, Shapes L.L.C., Delair L.L.C., Accu-Weld L.L.C. and Ultra L.L.C.

                     (collectively, the “Debtors”), filed voluntary petitions for relief under Chapter 11 of title 11

                     of the United States Code, 11 U.S.C. §§ 101 et seq., (the “Bankruptcy Code”). Since filing

                     for bankruptcy, the Debtors have continued in possession of their assets as debtors-in-

                     possession pursuant to sections 1107 and 1108 of the Bankruptcy Code.

                            2.      By Order dated March 18, 2008, and by subsequent Order(s) of the Court, the

                     Debtors’ respective cases are being jointly administered with Shapes/Arch Holdings L.L.C.’s

                     bankruptcy as the lead case.

                            3.      An Unsecured Creditors' Committee (the “Committee”) has been appointed by

                     the United States Trustee.

                            4.      On March 16, 2008, the Debtors filed their Disclosure Statement together

                     with Debtors’ Proposed Plan. A hearing to consider the adequacy of the Disclosure Statement

                     is scheduled to occur on April 17, 2008.

                            5.      At the time the Debtors filed the Petition, the Township held pre-petition

                     claims for delinquent real estate taxes, penalties, and accrued interest against the Debtors

                     realty commonly known as: 8600 River Road, 9000 River Road and 1777 Hylton Road,

                     Pennsauken, New Jersey. (“Realty”).
LAW OFFICE
PARKER McCAY
                            6.      Subsequent to the filing of Debtors Petitions, Debtors shall be responsible for

                     payment of the post-petition real estate taxes associated with the Realty. In the event post-
               Case 08-14631-GMB      Doc 173    Filed 04/16/08 Entered 04/16/08 16:26:10               Desc Main
                                                Document     Page 3 of 6



                     petition taxes become delinquent then Interest shall accrue thereon at the rate of 18% along

                     with the assements of penalties.




                            PENNSAUKEN’S OBJECTIONS TO THE DISCLOSURE STATEMENT

                            7.      Courts have held that where a proposed plan is not confirmable on its

                     face, it will not approve a disclosure statement with respect to that plan because to do so

                     would be an exercise in futility. See In re Washington Associates, 141 B.R. 275 (Bankr.

                     S.D.N.Y. 1992); In re Eastern Maine Electric Co-op, Inc., 125 B.R. 392 (Bankr. D.Me.

                     1991); and In re McCall, 44 B.R. 242, 243 (Bankr. E.D. Pa. 1984).

                            8.      The Township hereby objects to the Proposed Plan as it is patently

                     unconfirmable based on the following.

                            9.      11 U.S.C. § 511 provides for the Rate of interest on tax claims. Section 511

                     provides as follows:

                            (a) If any provision of this title requires the payment of interest on a tax claim
                            or on an administrative expense tax, or the payment of interest to enable a
                            creditor to receive the present value of the allowed amount of a tax claim, the
                            rate of interest shall be the rate determined under applicable nonbankruptcy
                            law.

                            (b) In the case of taxes paid under a confirmed plan under this title, the rate of
                            interest shall be determined as of the calendar month in which the plan is
                            confirmed.


LAW OFFICE
                     Id. Emphasis added.
PARKER McCAY

                            10.     The Township’s claim and resulting statutory lien is for delinquent real estate

                     taxes, accrued interest and penalties arising and mandated under N.J.S.A. 54:4-67; and

                     N.J.S.A. 54:5-6 & 9.
               Case 08-14631-GMB        Doc 173    Filed 04/16/08 Entered 04/16/08 16:26:10            Desc Main
                                                  Document     Page 4 of 6



                           11.         N.J.S.A. 54:4-67 permits the governing body of each municipality to fix the

                     rate of interest to be charged for non-payment of taxes, assessments, municipal charges or

                     water and sewer rents, subject to any abatement or discount of the late payment of taxes, and

                     assessments. N.J.S.A. 54:4-67 has been amended to permit the fixing of said rate at 8%

                     per annum on the first $1,500 of the delinquency and 18% per annum on any amount in

                     excess of $1,500 and allows an additional penalty of 6% be collected against a delinquency

                     in excess of $10,000 on properties that fail to pay the delinquency prior to the end of the

                     calendar year.

                            12.       The disclosure statement provides for the following treatment of priority tax

                     claims, which includes the Township’s claims for pre and post petition taxes.

                            Section F, Priority Tax Claims

                            Except as provided herein, each holder of an Allowed Priority Tax
                            Claim shall be paid in respect of such Allowed Claim either (a) the full
                            amount thereof, without post-petition interest or penalty, in Cash, as soon as
                            practicable after the later of (i) the Effective Date and (ii) the date on which
                            such Claim becomes an Allowed Claim or upon such other terms as may be
                            agreed upon by the holder of such Allowed Claim and the Debtors prior to the
                            Effective Date and the Reorganized Debtors following the Effective Date
                            might otherwise agree, or (at the election of the Debtors or the Reorganized
                            Debtors) (b) over a period of five (5) years from the Petition Date in equal
                            monthly installments of principal plus interest at the rate of six percent per
                            annum.


                            9. Class 9 Claims

                            This Class shall consist of the holders of Allowed Secured Real Estate tax
                            claims relating to the Delair Real Estate, Accu-Weld Real Estate, Shapes Real
LAW OFFICE                  Estate and Ultra Real Estate. Each holder shall be deemed to be a separate
PARKER McCAY
                            subclass. Each member of the subclass shall have an allowed secured claim in
                            the amount of Real Estate taxes due and owing as of the Petition Date
                            (including any interest due and owing but excluding any late charges or
                            penalties in the amount as set forth in the Debtors’ Schedules and Statement
                            of Financial Affairs) and such claims shall be paid (at the election of the
                            Debtors) (i) in full, in cash on the Effective Date or (ii) in equal monthly
               Case 08-14631-GMB      Doc 173     Filed 04/16/08 Entered 04/16/08 16:26:10              Desc Main
                                                 Document     Page 5 of 6



                            installments of principle commencing on the first day of the first month
                            following the Effective Date and continuing until the date which is sixty
                            months from the Petition Date, with interest at the rate of six percent per
                            annum. Reorganized Debtors shall have the right to prepay one or more of the
                            Class 9 holders at any time without penalty. Class 9 claims are impaired and
                            entitled to vote.


                            13.      Based upon the terms set forth in the Disclosure Statement and the

                     Proposed Plan, the Township would only receive mere interest of six percent per

                     annum as to accrued interest against the Debtors Realty. Such a proposal is in clear

                     contravention and violation of the Bankruptcy Code as well as the applicable

                     nonbankrupcty law. Accordingly, the Proposed plan is not confirmable on its

                     face and the Townships respectfully submits that this Court should not approve

                     Debtors’ Disclosure Statement with respect to that Proposed Plan because to do so

                     would be an exercise in futility.

                            14.     The Township also object to the Disclosure Statement as it provides that upon

                     the effective date the Debtors may transfer the Realty free and clear of all liens. Specifically,

                     Section 6 (Transfer of Real Estate)and 14 (Release of liens) state:

                            On the Effective Date, (a) Reorganized Shapes, L.L.C. may (at its election) (i)
                            convey the Shapes Real Estate to Shapes Realty New Jersey L.L.C., (ii)
                            convey the Delair Real Estate to Delair Realty New Jersey L.L.C. (or Shapes
                            Realty New Jersey LLC); and (iii) convey the Ultra Real Estate to Ultra
                            Realty New Jersey L.L.C.; and (b) Reorganized Accu-Weld L.L.C. may
                            convey the Accu-Weld Real Estate to Accu-Weld Realty Pennsylvania L.L.C.,
                            free and clear ofall liens, claims and encumbrances other than the Class 9 Real
                            Estate Claims.

LAW OFFICE                  Except as otherwise provided in the Plan or in any contract, instrument or
PARKER McCAY
                            other agreement or document created in connection with the Plan, including,
                            without limitation, the Lien securing the DIP Facility, CIT Loan and Exit
                            Facility shall survive Confirmation and shall remain valid, enforceable and
                            perfected Liens against property of the Reorganized Debtors, respectively. On
                            the Effective Date and except as otherwise set forth in the Plan, all other
                            mortgages, deeds of trust, Liens or other security interests against the Property
               Case 08-14631-GMB       Doc 173    Filed 04/16/08 Entered 04/16/08 16:26:10                Desc Main
                                                 Document     Page 6 of 6



                             of the Debtors’ estate shall be released, and all the right, title and interest of
                             any holder of such mortgages, deeds of trust, Liens or other security interests
                             shall revert to Reorganized Debtors and their successors and assigns.


                             15.    The Realty serves as the only source of recovery for the Township in the event

                     Debtors fail to satisfy its tax obligation to the Township. Debtors proposal to transfer the

                     Realty free and clear of the Township liens is impermissible under 11 U.S.C. Section 363 and

                     applicable nonbankruptcy law. Where a plan is patently unconfirmable, courts will not

                     approve a disclosure statement. See In re Monroe Well Service, Inc., 80 B.R. 324, 332-33

                     (Bankr.E.D.Pa. 1987); In re Phoenix Petroleum Co., 278 B.R. 385, 392 (Bankr. E.D. Pa.

                     2001). Accordingly, Debtors Proposed Plan is patently unconfirmable.

                             16.    Pennsauken reserves the right to file amended or supplemental objections as

                     information becomes available to it, and reserves the right to join other objections that may

                     be filed.



                                                             CONCLUSION

                             Wherefore, the Township respectfully submits that the Court should disapprove the

                     Debtors’ Joint Disclosure Statement.


                                                                            Respectfully Submitted,
                                                                            Parker McCay P.A.
                                                                            Attorneys for Pennsauken Township

                                                                            /s/ OREN KLEIN
LAW OFFICE           DATED: April 16, 2008                                  OREN KLEIN
PARKER McCAY
